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                        Exhibit 2
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                                     RIO GRANDE NATIONAL FOREST - COURT FILING RECORD INDEX
FOLDER            BATES NUMBER           DOCUMENT TITLE             DATE                AUTHOR       DESCRIPTION
                                                                      01. Forest Plan
                                                                                                     Rio Grande National Forest – Assessments 1 through 15–
01ForestPlan      00000001 - 00000820    001_201603_Assessments        3/00/2013 Forest Service      Executive Summaries
                                         002_20200511_RioGrandeL
01ForestPlan      00000821 - 00001084    andManagementPlan             5/00/2020 Forest Service      Land Management Plan
                                         003_20190802_AltBmod_Fi                                     RGNF Land Management Plan Alternative B – Modified-
01ForestPlan      00001085 - 00001085    nalPlan.pdf                     8/2/2019 Forest Service     MAP
                                         004_20190802_ForestPlan
01ForestPlan      00001086 - 00001114    Maps.pdf                        8/2/2019 Forest Service     RGNF Land Management Plan 29 Map series
                                         005_20190709_DraftPlan_F                                    Table tracking changes to plan components between
01ForestPlan      00001115 - 00001170    inalPlan_Compare.pdf            7/9/2019 Forest Service     issuing Draft Forest Plan and Final Forest Plan.
                                                               02. Policy & Guidance
02PolicyAndGuidanc
e                  00001171 - 00001183   01_19761022_NFMA.pdf           10/22/1976 Congress          National Forest Management Act Of 1976
                                                                                                     Forest Service Manual – Rocky Mountain Region (Region
                                                                                                     2) 2600 –Wildlife, Fish, & Sensitive Plant Habitat
02PolicyAndGuidanc                       02_20110525_FSM2670_TE                                      Management Chapter2670 –Threatened, Endangered &
e                  00001184 - 00001205   S.pdf                           5/25/2011 Forest Service    Sensitive Plants & Animals
02PolicyAndGuidanc                       03_20120409_FedRegisterP
e                  00001206 - 00001320   lanRule.pdf                       4/9/2012 Forest Service   National Forest System Land Management Planning
                                         04_20150103_FSM1920_La
02PolicyAndGuidanc                       ndManagementPlanning.pd
e                  00001321 - 00001362   f                                 1/3/2015 Forest Service   Forest Service Manual for Land Management Planning

02PolicyAndGuidanc                       05_20150128_FederalReigst                                   Federal Register publication of 36 CFR 212 and 261 for
e                  00001363 - 00001375   er36CFRParts212_261.pdf         1/28/2015 Forest Service    Travel Management
02PolicyAndGuidanc                       06_20150130_FSH1909.12C                                     Forest Service Handbook -Chapter20 – Land Management
e                  00001376 - 00001509   hapter 20_ForestPlan.pdf        1/30/2015 Forest Service    Plan
                                                               03. Need For Change (NFC)
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                                        001_20160700_NeedToCha                Erin Minks, Judi Need to change document developed from Assessments,
03NeedForChange   00001510 - 00001548   nge.pdf                     7/00/2016 Perez            public meetings and comments received.
                                        002_20160316_SLVEC_A2_
                                        Comment_SLV_Air_Toxics_                               San Luis Valley Ecosystem Council Attachment to
03NeedForChange   00001549 - 00001557   Analysis.pdf                3/16/2012 Kyle Olson, EPA assessment comments on Air Toxics Analysis
                                        003_20160100_SLVEC A 13
                                        Cultural and Historic                                 San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001558 - 00001561   Comments.pdf                1/00/2016 SLVEC           assessment 13 – Cultural and Historic Resources
                                        004_20160100_SLVEC A7
                                        Ecosystem Services                                    San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001562 - 00001565   Comments.pdf                1/00/2016 SLVEC           assessment 7 – Ecosystem Services
                                        005_20160100_SLVEC A10
                                        Minerals and Geologic                                 San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001566 - 00001569   Hazards Comments.pdf        1/00/2016 SLVEC           assessment 10 – Energy, Minerals and Geologic Hazards

                                        006_20160100_SLVEC_A_6                                San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001570 - 00001573   _Comments_Social.pdf        1/00/2016 SLVEC           assessment 6 – Social, Cultural and Economic Conditions
                                        007_20160100_SLVEC_A_1                                San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001574 - 00001575   2_Tribal_Comments.pdf       1/00/2016 SLVEC           assessment 12 – Areas of Tribal Importance

                                        008_20160100_SLVEC_A2_                                San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001576 - 00001581   Comments_ Air_Quality.pdf   1/00/2016 SLVEC           assessment 2- Air Quality
                                        009_20160100_SLVEC_A14                                San Luis Valley Ecosystem Council comments on draft
                                        _Lands_Status_and_Owners                              assessment 14- Land Status and Ownership, Use, and
03NeedForChange   00001582 - 00001584   hip_Comments.pdf            1/00/2016 SLVEC           Access Patterns
                                        010_20160100_SLVEC_Asse
                                        ssment_2_Soil_Comments.                               San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001585 - 00001587   pdf                         1/00/2016 SLVEC           assessment 2 – Soils
                                        011_20160100_SLVEC_Land
                                        s_Assessment_boundary_di                              Table showing RGNF Administrative Roadless and
03NeedForChange   00001588 - 00001588   sparities.pdf               1/00/2016 SLVEC           Wilderness Boundary Disparities with other NFs.
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                                        012_20160100_SLVEC_Land
                                        s_Comments_BLM_Bounda                               Table showing RGNF Administrative Boundary Disparities
03NeedForChange   00001589 - 00001589   ry_Discrepancies.pdf      1/00/2016 SLVEC           with BLM.

                                        013_20160120_SLVEC                  Tom Sobal,
                                        Assessment Cover                    Rocky Smith,
03NeedForChange   00001590 - 00001590   Letter.pdf                1/20/2016 Christine Canaly SLVEC Assessment Cover Letter

                                                                            Tom Sobal,
                                        014_20160120_SLVEC_Asse             Rocky Smith,
03NeedForChange   00001591 - 00001617   ssment_comments.pdf       1/20/2016 Christine Canaly SLVEC Assessment Cover Letter + content & comments

                                                                            Tom Sobel,
                                                                            Rocky Smith,
                                        015_20160300_SLVEC_A 9              Roz McClellan, San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001618 - 00001636   Recreation Comments.pdf   3/00/2016 Christine Canaly assessment 9 – Recreation

                                                                            Tom Sobel,
                                                                            Rocky Smith,
                                        016_20160300_SLVEC_A_8              Roz McClellan, San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001637 - 00001640   _Scenic_Comments.pdf      3/00/2016 Christine Canaly assessment 8.1-Scenic character

                                                                            Tom Sobel,
                                        017_20160300_SLVEC_A8_              Rocky Smith,
                                        Multiple_Use_Comments.p             Roz McClellan, San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001641 - 00001646   df                        3/00/2016 Christine Canaly assessment 8 -Multiple Uses

                                                                            Tom Sobel,
                                        018_20160318_SLVEC_A_1              Rocky Smith,
                                        _3_4_5_11_15_Combined_              Roz McClellan, San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001647 - 00001670   Comments.pdf              3/18/2016 Christine Canaly assessment Combined comments
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                                                                               Tom Sobel,
                                        019_20160318_SLVEC_A1-                 Rocky Smith,
                                        3_Terrestrial_Comments.pd              Roz McClellan, San Luis Valley Ecosystem Council comments on draft
03NeedForChange   00001671 - 00001678   f                            3/18/2016 Christine Canaly assessments 1 &3 -Terrestrial Ecosystems
                                                                               Rocky Smith,
                                                                               Christine
                                                                               Canaly, Tom
                                                                               Sobel, Roz
                                                                               McClellan,
                                                                               Alison
                                                                               Gallensky, John
                                        020_20160415_SLVECRSmit                R Mellgren,
                                        h_Need_for_Change_Comm                 Lauren McCain,    Combined comments on Need for Change – includes over-
03NeedForChange   00001679 - 00001708   ents_final.pdf               4/15/2016 Vera Smith        snow use, CRR, riparian protection, etc.
                                                                               Rocky Smith,
                                                                               Christine
                                                                               Canaly, Tom
                                                                               Sobal, , Alison
                                                                               Gallensky, John
                                        021_20160822_SLVEC                     R Mellgren,
                                        SMITH_TWS Initial Proposal             Lauren McCain,    Comments on Need for Change and initial proposal (draft
03NeedForChange   00001709 - 00001722   comments.pdf                 8/22/2016 Vera Smith        proposed action).
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                                                                               Vera Smith, on
                                                                               behalf of Dr.
                                                                               Aaron Hall, Dr.
                                                                               Lauren McCain,
                                                                               Allison
                                                                               Gallensky,
                                                                               Christine
                                        022_20160708_TWS_SLVEC                 Canaly, John R.
                                        _Et_Al_A 1-                            Mellgren, Rocky Comments on Assessment Chapter 1,2, and 3 and related
                                        3_Aquatics_Riparian_comm               Smith, Tom      portions of the Need For Change regarding water and
03NeedForChange   00001723 - 00001807   ents.pdf                      7/8/2016 Sobal           water resources. Includes citations and sources.
                                        023_20141125_TWS
                                        Assessment Appendix 4                                   Ecosystem representation in the RGNF. Comments on
03NeedForChange   00001808 - 00001893   FINAL_ecorep.pdf            11/25/2014 TWS              draft assessment.
                                        024_20150826_TWS.Assess                TWS, National
                                        ment appendix                          Wildlife         Opportunities for Wildlife Corridors in Upper Rio Grande
03NeedForChange   00001894 - 00001902   3_connectivity.pdf           8/26/2015 Federation       Watershed- 9 Map Series
                                                                               Vera Smith,
                                        025_20160209_TWSetal_as                Lauren McCain,
                                                                                          Comments on Chapter 15 designations, wildlife
                                        sessmentcomments_2016_f                Meredith   movement, ecological integrity, landscape processes and
03NeedForChange   00001903 - 00001935   inal.pdf                      2/9/2016 McClure    species. Includes citations.
                                        026_20160423_TWS_Assess                Vera Smith,Comments on draft assessment 11 – Infrastructure.
03NeedForChange   00001936 - 00002024   ment_11_Comments.pdf         4/23/2016 Lauren McCain
                                                                                          Includes including citations and sources.
                                        027_20160424_Defenders_                           Comments on draft assessment and draft need for
03NeedForChange   00002025 - 00002061   NFC_Assess_cmts.pdf       4/23/2016 Lauren McCain change.
                                        028_20160822_DefendersPl            Peter Nelson, Comment Letter on proposed plan revision framework
03NeedForChange   00002062 - 00002062   anFrameworkCmts.pdf       8/22/2016 Lauren McCain and crosswalk (July 2016)
                                                                                          Additional comments received from other parties/public
                                        029_20141224_OtherNeedF                           on draft assessments, need for change and initial
03NeedForChange   00002063 - 00002186   orChangeComments.pdf     12/24/2014 14+           proposal documents.
                                                                04. Scoping
                 Case 1:21-cv-02994-REB Document 24-2 Filed 06/21/22 USDC Colorado Page 7 of 25




                                                                                            The Rio Grande National Forest Plan: Proposed Action.
                                  001_20160900_ProposedAc                                   Proposed action released in Federal Register September
04Scoping   00002187 - 00002231   tion.pdf                       09/00/2016 Forest Service  2016.
                                                                            Economic
                                                                            Profile System-
                                                                            Human
                                  002_20150000_SLVEC BASI                   Dimensions
                                  Comment 2015 Alamosa                      Toolkit (EPS-   2015 Alamosa Tourism Report, attachment to SLVEC
04Scoping   00002232 - 00002236   Tourism Report.pdf              1/23/2015 HDT)            comments on proposed action.
                                  003_20150226_SLVEC BASI                                   A Profile of Development & the Wildland-Urban Interface
                                  Comment Development in                                    (WUI). Attachment to SLVEC comments on proposed
04Scoping   00002237 - 00002245   WUI.pdf                         2/26/2015 EPS-HDT         action.
                                  004_20150226_SLVEC BASI
                                  Comment SLV Socio                                         A Profile of Socioeconomic Measures. Attachment to
04Scoping   00002246 - 00002269   Economic Profile.pdf            2/26/2015 EPS-HDT         SLVEC comments on proposed action.

                                  005_20150226_SLVEC BASI
                                  Comment Travel and                                        A Profile of Industries that Include Travel & Tourism.
04Scoping   00002270 - 00002284   Tourism Industry Profile.pdf    2/26/2015 EPS-HDT         Attachment to SLVEC comments on proposed action.
                                                                            Rocky Smith,
                                                                            Christine
                                                                            Canaly, Alan
                                                                            Apt, Jimbo
                                                                            Buickerood,
                                                                            Alison
                                                                            Gallensky, Matt
                                                                            Reed, John R
                                                                            Mellgren, Scott
                                  006_20161028_SLVEC_R_S                    Braden, Tom
                                  mith_RM_Wild_Quiet_Use_                   Sobal, Greg     Rocky Mountain Wild Comment Letter on Proposed
04Scoping   00002285 - 00002341   Et_al_Scoping.pdf              10/28/2016 Dyson           Action
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                                  007_20161025_TWSFormLe                   Approximately Form letter comments on Proposed Action submitted on
04Scoping   00002342 - 00002380   tters39.pdf                10/25-26/2016 39               behalf of The Wilderness Society.
                                  008_20170308_TheWildern                                   Proposed Management Direction for aquatic and
                                  essSociety_DefendersLetter               Joshua Hicks,    terrestrial connectivity for consideration in FS and BLM
04Scoping   00002381 - 00002395   R2_R3.pdf                       3/8/2017 Lauren McCain, planning processes in the upper Rio Grande landscape
                                  009_20161024_DefendersF                                   Form letter comments on Proposed Action submitted on
04Scoping   00002396 - 00002407   ormLetters11.pdf           10/24-27/2016               11 behalf of Defenders of Wildlife.
                                  010_20161028_Defenders                   Peter Nelson,
04Scoping   00002408 - 00002619   Scoping comments.pdf          10/28/2016 Lauren McCain Defenders of Wildlife comment letter on Proposed Action
                                  011_20161026_WELC                                         Attachment to comments from Western Environmental
04Scoping   00002620 - 00002767   Scoping Comments I.pdf        10/26/2016 multiple         Law Center (306 pages) – climate.
                                  012_20161026_WELC
                                  Scoping Comments II                                       Attachment to comments from Western Environmental
04Scoping   00002768 - 00003073   IPCC.pdf                      10/26/2016 multiple         Law Center (148 pages) – species.
                                  013_20161026_WELC
                                  Scoping Comments III                                      Attachment to comments from Western Environmental
04Scoping   00003074 - 00003199   Climate Action Tracker.pdf    10/26/2016 multiple         Law Center (126 pages) – climate.
                                  014_20161114_WELC                        James Brown,
                                  Scoping Comments IV                      Elizabeth
                                  Coarse Woody Debris                      Reinhardt, Kylie Attachment to WELC Comments. Coarse Woody Debris:
04Scoping   00003200 - 00003384   BASI.pdf                      11/14/2016 Kramer           Managing Benefits & Fire Hazard in the Recovering Forest
                                  015_20160900_OtherScopi                                   Scoping comments received from participants not
04Scoping   00003385 - 00003600   ngComments.pdf                09/00/2016 multiple         included in litigation.
                                                                 05. TES
                                  000_CanadaLynxSpeciesOve
05TES       00003601 - 00003611   rview                                    Forest Service Canada Lynx (Lynx canadensis) Species Overview
                                                                                            Endangered and Threatened Wildlife & Plants;
                                  001_20000324_Threatened                                   Determination of Threatened Status for the Contiguous
                                  StatusLynx_DPS_FR_v65_N                                   U.S. Distinct Population Segment of the Canada Lynx and
05TES       00003612 - 00003647   o_58                           3/24/2000 Forest Service Related Rule
                                  002_20140600_LynxFactSh                  CO Parks &
05TES       00003648 - 00003649   eet_CPW_Reintroduction         6/00/2014 Wildlife         Lynx Reintroduction
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                                                                                             Endangered and Threatened Wildlife & Plants; Revised
                                                                                             Designation of Critical Habitat for the Contiguous United
                                   003_20140912_Lynx_CH_FR                  DOI Fish &       States Distinct Population Segment of the Canada Lynx
05TES        00003650 - 00003715   _v79_No177_USFWS               9/12/2014 Wildlife Service and Revised Distinct Population Segment Boundary
                                                                            Forest Service &
                                   004_20160418_FINAL Lynx                  other gov
05TES        00003716 - 00003780   SSA EE Workshop Report 2       4/18/2016 agencies         Canada Lynx Expert Elicitation Workshop
                                   005_20180111_SSA_Report                  U.S. Fish and    Species Status Assessment for the CANADA LYNX (Lynx
05TES        00003781 - 00004080   _CanadaLynx                    1/11/2018 Wildlife Service canadensis)
                                   006_20180517_RGNF_Lynx
                                   SpruceBeetle_Monte Vista                John Squires et
05TES        00004081 - 00004133   CO                           5/18/2018 al                Lynx Habitat Ecology in Beetle-Impacted Forests
                                                                                            Peer reviewed article: Sharing the same slope: Behavioral
                                   007_20180626_Lynx_Winte                 Lucretia Olson responses of a threatened mesocarnivore to motorized
05TES        00004134 - 00004151   rRecreation_Olson_Squires    6/26/2018 et al             and nonmotorized winter recreation
                                   008_20170214_UFBSpecies                                  Uncompahgre Fritillary Butterfly (Boloria (improba)
05TES        00004152 - 00004154   Overview                     2/14/2017 Forest Service acrocnema) Species Overview
                                   009_20170727_RMU_Allot                                   RGNF- Plan Revision- Draft- EIS- Range: Grazing
05TES        00004155 - 00004155   ments                        7/27/2017 Forest Service Allotments- MAP
                                   010_20180000_UFB_5yearR                 DOI Fish &       Uncompahgre Fritillary Butterfly (Clossíana ímproba
05TES        00004156 - 00004185   eview                              2018 Wildlife Service acrocnema) 5-Year Review: Summary & Evaluation
                                                              06. Wildlife
                                                                           Forest Service &
                                   001_20130608_LCAS_revise                other gov
06Wildlife   00004187 - 00004319   d_3rd_ed                       6/8/2013 agencies         Canada Lynx Conservation Assessment and Strategy
                                   002_20180611_IPaC List for                               Letter with Updated list of threatened and endangered
                                   RGNF Plan Revision                      DOI Fish &       species that may occur in proposed project location for
06Wildlife   00004320 - 00004335   Western CO ERO               6/11/2018 Wildlife Service Western CO
                                                                                            Letter with Updated list of threatened and endangered
                                   003_20180711_IPaC List for              DOI Fish &       species that may occur in proposed project location for
06Wildlife   00004336 - 00004352   RGNF Plan Revision CO ERO    7/11/2018 Wildlife Service Colorado
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                                                                                           Letter with Updated list of threatened and endangered
                                   004_20180711_IPaC List                 DOI Fish &       species that may occur in proposed project location for
06Wildlife   00004353 - 00004360   RGNF Plan revision NM ERO    7/11/2018 Wildlife Service New Mexico
                                   005_20180928_RGNF_Plan
06Wildlife   00004361 - 00004481   Revision_FINAL_BA            9/28/2018 Forest Service Final Biological Assessment
                                   006_20200309_TEPC_Speci                DOI Fish &       Letter with Updated list of threatened and endangered
06Wildlife   00004482 - 00004497   es List_USFWS                 3/9/2020 Wildlife Service species that may occur in proposed project location
                                   007_20210402_USFS_SRLA
06Wildlife   00004498 - 00004505   _Report_2020.pdf              4/2/2021 Forest Service    Southern Rockies Lynx Report, 2020
                                                               07. DEIS
                                   001_021709_RGNFPlanRevi
07DEIS       00004506 - 00005059   sionDEIS.pdf                09/00/2017 Forest Service    Rio Grande National Forest Plan Revision-DEIS
                                   002_20170728_AltA_Maps.                                  Rio Grande National Forest Plan Revision-DEIS-
07DEIS       00005060 - 00005061   pdf                          7/28/2017   Forest Service Alternative A Map series
                                   003_20170728_AltB_Maps.                                  Rio Grande National Forest Plan Revision- DEIS-
07DEIS       00005062 - 00005064   pdf                          7/28/2017   Forest Service Alternative B Map series
                                   004_20170728_AltC_Maps.                                  Rio Grande National Forest Plan Revision- DEIS-
07DEIS       00005065 - 00005065   pdf                          7/28/2017   Forest Service Alternative C Map series
                                   005_20170728_AltD_Maps.                                  Rio Grande National Forest Plan Revision- DEIS-
07DEIS       00005066 - 00005068   pdf                          7/28/2017   Forest Service Alternative D Map series
                                   006_20171222SLVEC_PlusA                  SLVEC Christine Comments plus attachments from San Luis Valley
07DEIS       00005069 - 00006999   ttchmnts.pdf                12/22/2017   Canaly          Ecosystem Council
                                   007_20171228_SJCA
                                   Comments Rio Grande
07DEIS       00007000 - 00007005   DEIS.pdf                    12/28/2017 SJCA              SJCA Comments
                                   008_20171228_WELC_Shan
                                   non
                                   Laun_CommentsDEIS_Draft                WELC Shannon Western Environmental Law Center Shannon Laun
07DEIS       00007006 - 00007203   ForestPlan.pdf              12/28/2017 Laun         Comments
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                                                                                     Defenders of
                                                                                     Wildlife, The
                                                                                     Wilderness
                                                                                     Society,
                                                                                     Western
                                                                                     Environmental
                                                                                     Law Center,        Comments plus attachments from Defenders of Wildlife,
                                          009_20171229DefendersPlu                   WildEarth          The Wilderness Society, Western Environmental Law
07DEIS              00007204 - 00013186   sAtthmnt.pdf                  12/29/2017 Guardians            Center, WildEarth Guardians
                                          010_20170000_OtherCom                      Local and Gov      Other comments from Local and Gov. agencies and
07DEIS              00013187 - 00015529   ments.pdf                            2017 agencies            organizations
                                          011_2107_2018LateComme                     Public and local
07DEIS              00015530 - 00015644   nts.pdf                        2017-2018 gov agencies         Late comments from the public and local gov agencies
                                                                                     Tom Troxel,
                                          012_20171115_28Extension                   Peter Nelson,
07DEIS              00015645 - 00015648   Requests.pdf                  11/15/2017 Dan Dallas           Comment extension requests and replies
                                                                  08. Draft Forest Plan
                                          001_20170900_DraftRevise
08DraftForestPlan   00015649 - 00015882   dLandMgmtPlan.pdf             09/00/2017 Forest Service       RGNF Draft Revised Land Management Plan
                                          002_DraftForestPlanMaps.p                                     RGNF Draft Revised Land Management Plan 15 map
08DraftForestPlan   00015883 – 00015897   df                                   2017 Forest Service      series
                                                              09. Draft Record of Decision
09DraftRecordOfDec
ision              00015898 - 00015939    20190802_DraftROD.pdf         8/2/2019 Forest Service         Draft Record of Decision RGNF Land Management Plan
                                                             10. Administrative Review
10AdministrativeRe                        001_20190930_RockySmith                 Rocky Smith
view               00015940 - 00016064    EtAl_Objection.pdf          9/30/2019 +more                   Objection Letter
10AdministrativeRe                        002_20190927_SJCA_Objec                 San Juan Citizen
view               00016065 - 00016328    tion_Attchmnts.pdf          9/27/2019 Alliance                SJCA Objection & Attachments
10AdministrativeRe                        003_20191001_DOW_WELC                   Defenders of
view               00016329 - 00016432    _TWS_WEGObjection.pdf       10/1/2019 Wildlife                Objection Letter
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                                                                                    Multiple
10AdministrativeRe                        004_201909_OtherObjector                  (public), Forest
view               00016433 - 00017550    s.pdf                           9/00/2019 Service          Other Objector Letters and Forest Service Reply Letters
10AdministrativeRe                        005_20200310_ObjectionR
view               00017551 - 00017638    esponse_Final.pdf             3/10/2020 Forest Service      Reviewing Officer Response to Eligible Objections
                                                                11. Biological Opinion

                                          20190315_FWS_KBroderdo
                                          rp_Letter_Multi_RGNF                       DOI Fish &       Response to Formal Consultation Letter- Biological
11BiologicalOpinion 00017639 - 00017663   Forest Plan_SIGNED_BO.pdf       3/15/2019 Wildlife Service Opinion
                                                      12. Final Environmental Impact Statement (FEIS)
                                          001_20200402RGNFLandM
12FEIS             00017664 - 00018263    gmtPlanFEISVol1.pdf              4/2/2020 Forest Service RGNF- Land Management Plan- FEIS: Volume I

                                          002_20200402RGNFLandM                                       RGNF- Land Management Plan- FIES: Volume II- Appendix
12FEIS             00018264 - 00018505    gmtPlanFEISVol2.pdf             4/2/2020 Forest Service     D: Public Involvement & Response to Comments
                                          003_20200402RGNFLandM
                                          gmtPlanFEISVol1and2_Errat
12FEIS             00018506 - 00018515    a.pdf                           4/2/2020 Forest Service     RGNF Land Management Plan- FEIS: Volume I and II Errata
                                          004_20190802_AltAMaps.p                                     Rio Grande National Forest Plan Revision- Alternative A
12FEIS             00018516 - 00018519    df                              8/2/2019 Forest Service     Map series
                                          005_20190802_AltBMaps.p                                     Rio Grande National Forest Plan Revision- Alternative B
12FEIS             00018520 - 00018529    df                              8/2/2019 Forest Service     Map series
                                          006_20190802_AltCMaps.p                                     Rio Grande National Forest Plan Revision- Alternative C
12FEIS             00018530 - 00018534    df                              8/2/2019 Forest Service     Map series
                                          007_20190802_AltDMaps.p                                     Rio Grande National Forest Plan Revision- Alternative D
12FEIS             00018535 - 00018540    df                              8/2/2019 Forest Service     Map series
                                          008_20190802_OtherResou
12FEIS             00018541 - 00018545    rceMaps.pdf                     8/2/2019 Forest Service     Other Resource Maps – 5 map series
                                                              13. Record Of Decision (ROD)
                                          20200511RGNF_LMP_ROD.                                       Record of Decision Rio Grande National Forest Land
13RecordOfDecision 00018546 - 00018614    pdf                            5/11/2020 Forest Service     Management Plan
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13RecordOfDecision 00018615 - 00018615     20200518_ROD_Errata.pdf          5/18/2020 Forest Service ROD Errata
                                                                14. Revised Biological Opinion
14. Revised                                20210209_RevisedBiOP_Co                      DOI Fish &     Revised Biological Opinion for the Rio Grande National
Biological Opinion   00018616 - 00018647   verLetter.pdf                     2/9/2021 Wildlife Service Forest Land Management Plan
                                                         15. Correspondence with U.S. Fish & Wildlife
15Correspondence
                                           20201215McDonaldBroder
WithUSFishAndWildl
                                           dorp_ObjecionResponse.pdf
ife                  00018648 - 00018740                                  12/15/2020 Peter McDonald Objection Response
15Correspondence
WithUSFishAndWildl                         20201217_signed FWS
ife                  00018741 - 00018744   Forest Plan BA clarification   12/17/2020 Dan Dallas        Forest Plan BA clarification
15Correspondence                                                                     Dale Gomez,
WithUSFishAndWildl                         20210108_GomezBroderdo                    Kurt
ife                  00018745 - 00018747   rp_MissingDataforLAUs            1/8/2021 Broderdorp        Email chain discussing LAU Data Points
15Correspondence                                                                     William
WithUSFishAndWildl                         20210204_RemshardtOBrie                   Remschardt,
ife                  00018748 - 00018751   n_LAUStatistics                  2/4/2021 Cheryl O’Brien    Email chain discussing LAU Statistics
15Correspondence
WithUSFishAndWildl                         20210205_GomezBroderfor
ife                  00018752 - 00018753   pLAUStatistics               2/5/2021 Dale Gomez            LAU Stats
                                                               16. Reference Material
                                                                                                      Peer reviewed article: Population and habitat
16ReferenceMateria                         001_19890214_Population                                    characteristics of lynx and snowshoe hares in north
l                  00018754 - 00018760     Habitat_Lynx.pdf                2/14/1989 Gary Koehler     central Washington
                                                                                                      Peer reviewed article: Potential Impacts of Coyotes and
                                           002_20061018BunnellCoyot                  Kevin Bunnell et Snowmobiles on Lynx Conservation in the Intermountain
                     00018761 - 00018771   esSnowmobiles_Lynx.pdf         10/18/2006 al               West

16ReferenceMateria                         003_20080212_SquiresHier                  John Squires et Peer reviewed article: Hierarchical Den Selection of
l                  00018772 - 00018781     archialDenSelectionLynx.pdf     2/12/2008 al              Canada Lynx in Western Montana
                       Case 1:21-cv-02994-REB Document 24-2 Filed 06/21/22 USDC Colorado Page 14 of 25




                                         004_20101017_RGNFLynxH                    Randy
                   00018782 - 00018822   abitatMapRationale.pdf          10/7/2010 Ghormley          Lynx Habitat Model & Mapping Criteria
16ReferenceMateria                       005_20110531_LynxMovem                    Jake Ivan, CO     Putative Canada Lynx (Lynx canadensis) Movements
l                  00018823 - 00018828   entsNorthPassCO.pdf             5/31/2011 Div of Wildlife   across Hwy 114 near North Pass, Colorado
                                         006_20120410_BergInfluen
                                         ceForestStructureSnowshoe                Nathan Berg et Peer reviewed article: Influence of Forest Structure on
                  00018829 - 00018837    Hares.pdf                      4/10/2012 al               the Abundance of Snowshoe Hares in Western Wyoming
                                                                                  Forest Service,
16ReferenceMateria                       007_20140900CPWLynxMo                    CO Parks &
l                  00018838 - 00018858   nitoring.pdf               09/00/2014    Wildlife         Lynx Monitoring
                                         008_20160310_RGNFLynxH
16ReferenceMateria                       abitatSnowCompactionOut                                   Rio Grande National Forest Lynx Habitat Snow
l                  00018859 - 00018874   puts.pdf                       3/10/2016 Forest Service Compaction Outputs
16ReferenceMateria                       009_20160310RGNFWinter
l                  00018875 - 00018876   CompactionSRLA.pdf             3/10/2016 Forest Service Winter Rec & Snow Compaction
                                                                                  Forest Service &
                                         010_20160612_RGNFLTLyn                   other gov        Canada Lynx & Snowshoe Hare Response to Spruce-
                  00018877 - 00018922    xBeetlekill.pdf                6/12/2016 agencies         Beetle Tree Mortality
                                                                                                   Peer reviewed article: Using environmental features to
16ReferenceMateria                       011_20160626_HighwayCro                  Phillip Baiga et model highway crossing behavior of Canada lynx in the
l                  00018923 - 00018936   ssingBehavior_Lynx.pdf         6/26/2016 al               Southern Rocky Mountains
16ReferenceMateria                       012_20160907_LynxCritical
l                  00018937 - 00018966   HabitatFinalOrder.pdf           9/7/2016 COURT            Wild Earth Guardians vs DOI
16ReferenceMateria                       013_20160920_CPWHareDe
l                  00018967 - 00018985   nsityStudySites.pdf            9/20/2016 Forest Service Snowshoe Hare Density Study Sites- 19 Map Series
                                                                                                   Peer reviewed article: Multiscale habitat relationships of
                                                                                                   snowshoe hares (Lepus americanus) in the mixed conifer
                                                                                                   landscape of the Northern Rockies, USA: Cross-scale
16ReferenceMateria                       014_20161214_Multiscale_                 Joseph           effects of horizontal cover with implications for forest
l                  00018986 - 00019005   HorizontalCover_Forest.pdf    11/13/2016 Holdbrook et al management
                                         015_20170000CPWPredicti
                  00019006 - 00019022    veLynxMapReport.pdf                 2017 Jake Ivan et al Predictive Map of Canada Lynx Habitat Use in Colorado
                       Case 1:21-cv-02994-REB Document 24-2 Filed 06/21/22 USDC Colorado Page 15 of 25




16ReferenceMateria                       016_20170222_JIvanRGNFB                Jake Ivan, CO    Impacts of Bark Beetle Outbreaks on Snowshoe Hares &
l                  00019023 - 00019053   arkBeetleLT.pdf              2/22/2017 Parks & Wildlife Red Squirrels
16ReferenceMateria                       017_20170510RGNFCanada                                  Lynx Range Lynx use of spruce-beetle impacted forests as
l                  00019054 - 00019158   Lynx.pdf                     6/10/2017 Forest Service documented with GPS telemetry
                                         018_20170717_Buderman
16ReferenceMateria                       MovementBehaviorReintro                Frances         Peer reviewed article: Large-scale movement behavior in
l                  00019159 - 00019172   ducedPredator.pdf            7/17/2017 Buderman et al a reintroduced predator population
                                         019_20170900HolbrookCan                                Peer reviewed article: Understanding and predicting
                                         adaLynxResourceUseSelecti              Joseph          habitat for wildlife conservation: the case of Canada lynx
                  00019173 - 00019197    on.pdf                      09/00/2017 Holdbrook et al at the range periphery
16ReferenceMateria                       020_20180228AllLAUHabita
l                  00019198 - 00019198   t.pdf                        2/28/2018 Forest Service     Lynx Habitat RGNF With All Lynx Analysis Units- MAP
16ReferenceMateria                       021_20180228LynxHabitatL
l                  00019199 - 00019199   AUUpdate.pdf                 2/28/2018 Forest Service     LAU Analysis spreadsheet
16ReferenceMateria                       022_20180309_LynxOberva
l                  00019200 - 00019200   tions.pdf                     3/9/2018 Forest Service     Lynx RSF, Dens, & Observations- MAP
                                         023_20140527NMJumping                  U.S. Fish and      Species Status Assessment Report New Mexico meadow
                  00019201 - 00019433    Mouse.pdf                    5/27/2014 Wildlife Service   jumping mouse (Zapus hudsonius luteus)
16ReferenceMateria                       024_20180100SWIFL_MSOR                 Randy              Southwestern Willow Flycatcher & Mexican Spotted Owl
l                  00019434 - 00019445   eportRGNF.pdf               01/00/2018 Ghormley           Survey & Status Report
                                         025_20180627_YBCUFindin
                   00019446 - 00019446   g.pdf                        6/27/2018 Peter McDonald Yellow-billed Cuckoo Status Review
16ReferenceMateria                       026_1996RGNF_LRMP_FEIS.
l                  00019447 - 00020659   pdf                         00/00/1996 Forest Service     1996 Land and Resource Management Plan FEIS
                                         027_19961107_RGNF_LRM                                     1996 Land and Resource Management Plan Record of
                  00020660 - 00020698    P_ROD.pdf                    11/7/1996 Forest Service     Decision
16ReferenceMateria                       028_19961107_RGNF_1996
l                  00020699 - 00021098   LRMP.pdf                    11/07/1196 Forest Service     1996 Land and Resource Management Plan
16ReferenceMateria                       029_19980612_TwisterSalv
l                  00021099 - 00021102   age_1996Amend1.pdf           6/12/1998 Forest Service     Forest Plan Amendment 1- Twister Salvage project letter
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16ReferenceMateria                         030_19980803_WIlderness                                   Forest Plan Amendment 2 - Wilderness EA and decision
l                    00021103 - 00021222   Amend2.pdf                      8/3/1998 Forest Service   notice
16ReferenceMateria                         031_19990618_NovemberA                                    Forest Plan Amendment 3 – November Project EA and
l                    00021223 - 00021228   nal_Amend3.pdf                 6/18/1999 Forest Service   decision notice
16ReferenceMateria                         032_20000302_TimberSuita
l                    00021229 - 00021320   bilityAmend4.pdf                3/2/2000 Forest Service   Forest Plan Amendment 4 – Timber Suitability
16ReferenceMateria                         033_20031022_MIS_DN_EA                                    Forest Plan Amendment 5– Management Indicator
l                    00021321 - 00021482   _Amend5.pdf                   10/22/2003 Forest Service   Species analysis and decision
16ReferenceMateria                         034_19991000_RMRS_GTR
l                    00021483 - 00021967   _EcoConLynx_Amend6.pdf        10/00/1999 Forest Service   Ecology and Conservation of Lynx in the United States
16ReferenceMateria                         035_20060900_SRLA_LynxH
l                    00021968 - 00021968   abitat_Amend6.pdf             09/00/2006 Forest Service   Southern Rockies Lynx Habitat, Map
                                           036_20080425_SRLA_Biolo                                   Supplemental Biological Assessment of the Southern
16ReferenceMateria                         gicalAssessment_USFS_R2_                                  Rockies Lynx Amendment on Threatened, Endangered
l                  00021969 - 00022100     Amend6.pdf                     4/25/2008 Forest Service   and Proposed Species for 7 National Forests LRMPs

16ReferenceMateria                         037_20080725_SRLA_Biolo                                   Biological Opinion, the effects of the Southern Rocky
l                  00022101 - 00022194     gical_Opinion_Amend6.pdf       7/25/2008 DOI, USFWS       Mountain Lynx Amendment
                                           038_20081000_SRLA_FEIS_
16ReferenceMateria                         Direction_Vol_I_Amend6.pd
l                  00022195 - 00022535     f                             10/00/2008 Forest Service   FEIS: Southern Rockies Lynx Amendment Volume 1
                                           039_20081000_SRLA_FEIS_
16ReferenceMateria                         Direction_Vol_II_Amend6.p
l                  00022536 - 00022807     df                            10/00/2008 Forest Service   FEIS: Southern Rockies Lynx Amendment Volume 2
16ReferenceMateria                         040_20090916_SRLA_Imple                                   Memorandum - Impementation Guide to the Southern
l                  00022808 - 00023045     mentation_Amend6.pdf          10/00/2008 Forest Service   Rockies Lynx Amendmennt
16ReferenceMateria                         041_20091109_Baca_DN_E                                    Forest Plan Amendment 7– Baca Tract analysis and
l                  00023046 - 00023298     A_Amend7.pdf                  11/00/2009 Forest Service   decision
                                                                17. Additional Documents
                       Case 1:21-cv-02994-REB Document 24-2 Filed 06/21/22 USDC Colorado Page 17 of 25




                                                                                                          Federal Register notice on species listing actions by US
                                                                                                          Fish and Wildlife Service determining petition for
17AdditionalDocum                       001_19840120_FR_USFWS_UFB_Actions                                 Uncompahgre fritillary butterfly as an Endangered
ents              00023299 - 00023302          _Vol49_No14_2485.pdf           01/20/1984     USFWS        Species.
                                                                                                          US Forest Service document that describes the
                                                                                                          Recreational Opprtunity Spectrum and how it applies to
17AdditionalDocum                                                                                         the Forest Service recreation program and recreation
ents              00023303 - 00023308   002_19900400_USDAFS_ROSPrimer.pdf     04/00/1990      USFS        portion of the mission.
                                                                                                          Research paper regarding a study of population and
17AdditionalDocum                       003_19900500_KoehlerLynx_Snowshoe_                                habitat charateristics on lynx and snowshoe hares in
ents              00023309 - 00023315               Habitat.pdf               05/00/1999   Koehler et al. North Central Washington.
17AdditionalDocum                       004_19901001_Koehler_ManagingSpruc                                Research article describing the management of spruce-fir
ents              00023316 - 00023320              eFir_Lynx.pdf              10/01/1990   Koehler et al. habitat for lynx and snowshoe hares.
                                                                                                          US Fish and Wildlife Service Federal Register notice
17AdditionalDocum                       005_19901015_FR_USFWS_UFB_Endang                                  determining the Uncompahgre fritillary butterfly as an
ents              00023321 - 00023325       ered_Vol55_No199_41721.pdf        10/15/1990     USFWS        Endangered Species.
                                                                                                          Document that describes the recovery plan of the
17AdditionalDocum                       006_19940317_USDI_UFBRecoveryPlan.                                Uncompahgre fritillary butterfly by the US Forest Service
ents              00023326 - 00023351                  pdf                    03/17/1994     USFWS        and US Fish and Wildlife Service.
                                                                                                          Document that describes the information and analysis
17AdditionalDocum                                                                                         procedure (Roads Analysis Report) used for the Rio
ents              00023352 - 00023479   007_20040100_USDAFS_RAPReport.pdf     01/00/2004      USFS        Grande National Forest roads analysis.
                                                                                                          Colorado Division of Wildlife (2005) analysis and report of
17AdditionalDocum                       008_20050200_Schenk_LynxUseOfWolfC                                lynx use of the Wolf Creek Pass area in Mineral County,
ents              00023480 - 00023498             reekPassArea.pdf            02/00/2005   Schenk et al. requested by US Forest Servicce.
                                                                                                          US Fish and Wildlife Service Federal Register notice of
                                                                                                          initiation of 5 year review of endangered species
17AdditionalDocum                       009_20070418_FR_USFWS_UFB_5_yr_re                                 including the Uncompahgre fritillary butterfly in the
ents              00023499 - 00023501       view_Vol_72_No_74_19549.pdf       04/18/2007     USFWS        Mountain Prairie Region.
17AdditionalDocum                       010_20070700_KolbEtal_SnowmobileTra                               Research article describing the effect of snowmobile trails
ents              00023502 - 00023511        ilsOnCoyoteMovements.pdf         07/00/2007    Kolb et al.   on coyote movements within lynx home range.
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                                                                                                           Rio Grande National Forest document regarding the
17AdditionalDocum                                011_20080701_Rio                                          Recreation Facility Analysis 5-year program of work and
ents              00023512 - 00023538           Grande_RFA_PoW.pdf             07/01/2008      USFS        results of implementation.
                                                                                                           US Fish and Wildlife Service document, 5-year review -
17AdditionalDocum                       012_20091000_USDIFWS_UFB_5YearRev                                  summary and evaluation of the Uncompahgre fritillary
ents              00023539 - 00023557                 iew.pdf                  10/91/1990     USFWS        butterfly.
                                                                                                           US Forest Service document that describes the
                                                                                                           connection of the public with the America's Great
17AdditionalDocum                       013_20100625_ConnectingPeopleWithG                                 Outdoors program and the opportunity for sustainable
ents              00023558 - 00023566            reatOutdoors.pdf              06/25/2010      USFS        recreation.
                                                                                                           Research article discussing the potential impacts of
17AdditionalDocum                       014_20101213_Bunnel_etal_PotentialIm                               coyotes and snowmobiles on lynx conservation in the
ents              00023567 - 00023578   pactsOfCoyotesOnLynxConservation.pdf   12/13/2010   Bunnell et al. Intermountain West.

                                                                                                         Research paper from Colorado State University (Theobald
17AdditionalDocum                       015_20110331_TheobaldSchenk_1999_2                   Theobald,   et al.) studying areas of high habitat use during 1999-
ents              00023579 - 00023597        010RadioCollaredLynxUse.pdf       03/31/2011   Schenk et al.2010 for radio collared lynx reintroduced to Colorado.
                                                                                                         Colorado Division of Wildlife study article describing the
17AdditionalDocum                       016_20110531_Ivan_LynxMovementsNe                                presumed movements of lynx across highway 114, near
ents              00023598 - 00023603         arNorthPassColorado.pdf          05/31/2011    Ivan et al. North Pass Colorado.
17AdditionalDocum                       017_20140416_Ivan_et_al_JWM_Snows                                Research article from study of density and demography
ents              00023604 - 00023618         hoeharedemography.pdf            04/16/2014    Ivan et al. of snowshoe hares in Central Colorado.
17AdditionalDocum                          018_20140700_SLVGO_FinalPlan-                                 San Luis Valley Great Outdoors trails and recreation plan
ents              00023619 - 00023685            No_Chapter-5.pdf              07/00/2014       USFS     document.
                                                                                                         Research article reporting on a study regarding
                                                                                                         correlation of Canada lynx reproduction success in
                                                                                                         Northwestern Montana with factors including biological
                                        019_20141200_KostermanMeganK_Corr
17AdditionalDocum                         elates of Canada Lynx Reproductive                Kosterman et condition and habitat status within female lynx home
ents              00023686 - 00023764      Success in Northwestern Mo.pdf      12/00/2014        al.     range.
                       Case 1:21-cv-02994-REB Document 24-2 Filed 06/21/22 USDC Colorado Page 19 of 25




                                                                                                           Information pamphlet that discusses visitation by the
                                                                                                           public in the Forest Service Rocky Mountain Region (R2),
17AdditionalDocum                       020_20150400_R2LeadershipInOutdoorR                                recreation and use management relative to leadership
ents              00023765 - 00023772              ecreation.pdf               04/00/2015        USFS      intent in the region.
                                                                                                           The Wilderness Society letter to Dan Dallas, Rio Grande
                                                                                                           National Forest Supervisor presenting pre-assessment
17AdditionalDocum                       021_20150413TWS_et_al_RioGrande_NF                  The Wilderness comments, evaluation and recommendations going into
ents              00023773 - 00023840        _Pre-Assessment_Letter.pdf        04/13/2015       Society    the assessment phase of the forest plan revision.
                                                                                                           Rio Grande National Forest, forest-wide travel analysis
17AdditionalDocum                                                                                          and report and process (TAP) for evaluation of roads and
ents              00023841 - 00023896    022_20151000_RGNF_TAPReport.pdf       10/00/2015        USFS      management considerations on the forest.
                                                                                                           The Wilderness Society et al. letter to the Ro Grande
                                                                                                           National Forest submitting comments and
                                                                                                           recommendations post review of the Draft Assessment
17AdditionalDocum                       023_20160209_TWSetal_assessmentco                   The Wilderness during the assessment phase of forest planning for the
ents              00023897 - 00023929         mments_2016_final.pdf            02/09/2016       Society    revised plan.
                                                                                                           Natural History of New Mexico paper describing support
                                                                                                           of wildlife habitat connectivity and movement within
                                                                                               Natural     large multi-jurisdictional areas that affect connectivity
17AdditionalDocum                       024_20160300_WildlifeDoorways_NHN                    Heritage New and conservation of biological facctors dependent on
ents              00023930 - 00023957           M_Final_Report.pdf             03/00/2016       Mexico     management on a landscape-scale.
                                                                                                           Federal Register notice for Endangered and Threatened
                                                                                                           Wildlife and Plants: Initiation of 5-year Status Review of
                                        025_20160527_FR_USFWS_21_Species_
17AdditionalDocum                       5year_UFB_included_Vol_81_No_103_3                                 21 species in the Moutain-Praire Region. Includes
ents              00023958 - 00023960                 3698.pdf                 05/27/2016       USFWS      Uncompahgre fritllary butterfly.
                                                                                                           USDA publication, A Citizens' Guide to National Forest
17AdditionalDocum                       026_20160607_CitizensGuide_NF_Planni                               Planning, prepared by the FACA on implemetning the
ents              00023961 - 00024046                 ng.pdf                   06/07/2016        USFS      2012 Planning Rule. June 2016.
                                                                                                           Mapping protocol for mapping Recreation Opportunity
17AdditionalDocum                       027_20160607_ROSmappingProtocolDR                                  Spectrum. Draft for review and testing, June 2016. USFS
ents              00024047 - 00024144                AFT.pdf                   06/07/2016        USFS      Washington Office.
                       Case 1:21-cv-02994-REB Document 24-2 Filed 06/21/22 USDC Colorado Page 20 of 25




                                                                                                                Land Management Plan Reference, Winter Diet and
                                        028_20160610_IvanSchenk_Winter_diet
17AdditionalDocum                       _and_hunting_success_of_Canada_lynx_i                                   Hunting Success of Canada Lynx in Colorado, Jacob Ivan
ents              00024145 - 00024154              n_Colorado.pdf               06/10/2016 Ivan and Schenk      and Tanya Shenk authors.
                                                                                            Environmental       Comments to scoping notice for Rio Grande National
17AdditionalDocum                       029_20161026_EPA_Scoping_Comments                     Protection        Forest Land Management Plan from Environmental
ents              00024155 - 00024167                  .pdf                     10/26/2016      Agency          Protection Agency.
                                                                                               Natural          Agenda Wildlife Movement Workshop: Connectivity in
17AdditionalDocum                       030_20161207_08_Connectivity_Worksh                  Heritage New       the Upper Rio Grande Watershed held December 7 to 8,
ents              00024168 - 00024170             op_Agenda.pdf                 12/07/2016      Mexico          2016
                                                                                                                Powerpoint presented by USFS personnel Erin Minks and
                                                                                                                Randy Ghormley at the Wildlife Movement Workshop:
                                        031_20161207_08_Ghormley_Minks_RG
17AdditionalDocum                       NF_ConnectivityWorkshopPP_7Dec2016.                  Ghormley and       Connectivity in the Upper Rio Grande Watershed held
ents              00024171 - 00024195                   pdf                     12/07/2016    Minks USFS        December 7 to 8, 2016.
                                                                                               Natural          Summary for Wildlife Movement Workshop: Connectivity
17AdditionalDocum                       032_20161207_08_UpperRioGrandeWild                   Heritage New       in the Upper Rio Grande Watershed held December 7 to
ents              00024196 - 00024203     lifeMovementWrkShp_Summary.pdf        12/07/2016      Mexico          8, 2016.
                                                                                                                Reference included in LMP, regarding impacts and
                                                                                                                vulnerabilities for forest ecosystem types on the Rio
17AdditionalDocum                       033_20170111_Battaglia_Impacts_Vulne                                    Grande. Authored by Mike Battaglia from USFS Rocky
ents              00024204 - 00024222         rabilities_RGNF_19pp.pdf          01/11/2017   Battaglia et al.   Mountain Research Station.
                                                                                                National        March 17, 2017 letter to Forest Planners for Santa Fe, Rio
                                                                                                Wildlife        Grande, and Carson national forests, and BLM Monument
17AdditionalDocum                                                                            Federation et      Manager regarding aquatic and terrestrial activity in
ents              00024223 - 00024240       034_20170317_NWF_Letter.pdf         03/17/2017         al.          planning processes.
                                                                                                                Notification that the Fish and Wildlife Service received
17AdditionalDocum                                                                                               the LMP Biological Assessment, dated September 27,
ents              00024241 - 00024242     035_20180927_FWS_BAReceipt.pdf        09/27/2018       USFWS          2018.
                                                                                                                September 27, 2018 letter transmitting LMP bioligical
17AdditionalDocum                       036_20180927_Malecek_Timberman_Pl                                       assessment to Fish and Wildlife Service for review and
ents              00024243 - 00024244            anRevBALetter.pdf              09/27/2018        USFS          concurrence.
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                                                                                              Natural
17AdditionalDocum                       037_20190800_CorridorsSummitAgenda                  Heritage New
ents              00024245 - 00024245             August2019.pdf               08/00/2019      Mexico      2019 Upper Rio Grande Wildlife Corridor Summit Agenda
                                                                                                           May 12, 2020 Freedom of Informatin Act request
                                                                                                           submitted by Western Environmetnal Law Center on
                                                                                                           behalf of WildEarth Guardians. Point 1 sought
17AdditionalDocum                                                                                          infomraiton on Amendment 24 to the 1986 Rio Grande
ents              00024246 - 00024253   038_20200512_RGNF_FOIA_Melgren.pdf     05/12/2020     Melgren      NF LMP.
                                                                                                           2020 publication of final results of Squires study
                                                                                                           conducted on San Juan and Rio Grande national forests.
                                                                                                           Title: A specialized forest carnivore navigates landscape-
17AdditionalDocum                       039_20200703_squires_SpruceBeetleFor                               level disturbance: Canada lynx in spruce-beetle impacted
ents              00024254 - 00024268                ests.pdf                  07/03/2020   Squires et al. forests.
                                                                                                           National Visitor Use Montoring Report. Data collected
17AdditionalDocum                       040_20220415_FY_2015_data_NVUMM                                    during Fiscal year 2015. Report describes uses of the
ents              00024269 - 00024318          asterRGNF_Report.pdf            04/15/2022       USFS       Forest collected from visitor surveys.
                                                                                                           US Forest Service document by RGNF Wildlife Program
                                                                                                           lead that describes the purpose and need for the study as
                                                                                                           proposed and assisted by Dr. Squires and others to
                                                                                                           address lynx habitat use in post-beetle and post-fire
17AdditionalDocum                          041_20140625_Project Proposal_                                  habitats especially with regard to timber salvage and
ents              00024319 - 00024328            LynxHabitatUse.pdf            6/25/2014        USFS       vegetation management.
                                                                                                           Rio Grande National Forest document respponding to
                                                                                                           FOIA request by WildEarth Guardians per John Melgren
                                                                                                           with explanation about occurrence of an error in the
                                                                                                           Forest Plan Revision document regarding a non-existent
17AdditionalDocum                       042_20200526_FOIA_Response_Letter_E                                amendment due to a copy and paste error from another
ents              00024329 - 00024330              rrata_FPR.pdf               5/26/2020        USFS       forest template document.
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                                                                                                              Letter to Rocky Mountain Regional Forester, Southwest
                                                                                                              Region Regional Forester, and New Mexico BLM State
                                                                                                              Driector, thanking the agencies for participating in
                                                                                                              Wildlife Movement Workshop in December 2016. Signed
                                                                                                              by National Wildlife Federaton, The Wilderness Society,
17AdditionalDocum                       043_2017_02_17_thank you letter to                                    New Mexico Wildlife Federation, Colorado Wildlife
ents              00024331 - 00024332   agencies.pdf                           2/17/2017      Multiple        Federation, and Trout Unlmited.

                                                                                                              Minutes of meeting at the request of The Wilderness
                                                                                                              Society, Defenders of Wildlife, Western Environmental
                                                                                                              Law Center, Quiet Use Coalition, San Juan Citizens
                                                                                                              Alliance, San Luis Valley Ecosystem Council, Rocky
17AdditionalDocum                       044_2160719_Eminks_TWS.Defenders.w                                    Mountain Wild and Forest Service. The Wilderness
ents              00024333 - 00024339   eLC.BriefingNotes.7.16.pdf             7/19/2016        USFS          Society et al presetned intial thoughts on various topics.
                                                                                                              UFB Monitoring and Inventory results for 2015. Location
17AdditionalDocum                       045_2015_UFBreport_draft_SENSITIVE_r               Alexander and      information redacted for T&E species. Redacted on
ents              00024340 - 00024368   edacted.pdf                            4/1/2016        Keck           agreement of Counsel.
                                                                                                              UFB Monitoring and Inventory results for 2016. Location
17AdditionalDocum                       046_2016_UFBreport_draft_SENSITIVE_r               Alexander and      information redacted for T&E species. Redacted on
ents              00024369 - 00024397   edacted.pdf                            5/1/2017        Keck           agreement of Counsel.
                                                                                                              UFB Monitoring and Inventory results for 2017. Location
17AdditionalDocum                       047_2017_UFBreport_draft_SENSITIVE_r               Alexander and      information redacted for T&E species. Redacted on
ents              00024398 - 00024425   edacted.pdf                            5/1/2017        Keck           agreement of Counsel.
                                                                                                              Email Agenda for a meeting with RGNF regarding the
17AdditionalDocum                       048_20160716_SLVEC_Email_MeetingAg                  Vera Smith to     Forest Plan Revision including Citizen's Conservation
ents              00024426-00024427     enda_RGNF_revFLMP                      7/16/2016     Erin Minks       Proposal and other topics.
                                                                                                              Email Confirmation for Oct. 4, 2016 meeting with RGNF
17AdditionalDocum                       049_20160928_SLVEC_MeetingConfirm_                 Christine Canaly   staff regarding wildlife and other topics for the revised
ents              00024428-00024430     RGNF_revFLMP                           9/28/2016   to Tom Malecek     Forest Land Management Plan.
                                                                                                              Agenda for SLVEC requested meeting with RGNF
17AdditionalDocum                       050_20161004_SLVEC_AgendaMeetingR                                     regarding citizen's topics and presentations regarding the
ents              00024431-00024432     equest_RGNF_revFLMP                    10/4/2016        SLVEC         revised Forest Land Management Plan.
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                                                                                                              Canada lynx study proposal update from 2016 data and
                                                                                                 Squires,     discussion related to the response of lynx and snowshoe
17AdditionalDocum                       051_20170602_Squires_ResponseCanad                     Ghormley   and hares to sprucce-beetle and wilfire mortality in Spruce-Fir
ents              00024433-00024477     aLynxSnowHares                           6/2/2017         others.     forests of Southern Colorado.
                                                                                                 Colorado
                                                                                                Division of Colorado Division of Wildlife annual report of post-
17AdditionalDocum                       052_2006_july_2007_June_CDOW_Shen                     Wildlife, Shenk release monitoring of lynx for period of July 2006 to June
ents              00024478 - 00024534   k_AnnualReportsecure_post_release    y 2006 to June 20 and others 2007.
                                                                                                 Colorado
                                                                                                Division of Colorado Division of Wildlife annual report of post-
                                        053_2009_July_2010_June_CDOW_Shen
17AdditionalDocum                       k_Post_releaseMonitoringLynxReintrodu                 Wildlife, Shenk release monitoring of lynx for period of July 2009 to June
ents              00024535 - 00024560   cedColorado                          y 2009 to June 20  and  others   2010.

17AdditionalDocum                       054_19780000_Fox_ForestFiresAndTheS                                   Research paper on the effects on lynx and snowshoe hare
ents              00024561 - 00024586   nowshoeHAreCanadaLynxCycle                   1978       John F. Fox habitat and population ecolgy with regard to forest fires.
17AdditionalDocum                       055_19800206_FR_USFWS_UFB_TES_Pe                                      Fish and Wildlife Service Federal Register notice of action
ents              00024587 - 00024588   tition_Vol_45_No_26_8029                   2/6/1980       USFWS       on petition for Uncompahgre Fritillary Butterfly
                                                                                                              Research article describing the history of spruce beetles
17AdditionalDocum                       056_19900200_Baker_Veblen_SpruceBe                    Baker, Veblen and forest fires and their effects specific to the 19th
ents              00024589 - 00024605   etleFiresin19thCentury_CO                 2/00/1990        et al.     century in Western Colordo.
                                                                                                              Research article describing the disturabance regime and
17AdditionalDocum                       057_19940300_VeblenEtAl_Disturbance                                   ecology relative to fire and spruce beetles in Rocky
ents              00024606 - 00024617   RegimeDisturbanceInteractions             3/00/1994    Veblen et al. Mountain sub-alpine forests.
                                                                                                              US Forest Service, Rocky Mountain Research Station
                                        058_19940900_RuggieroEtAl_gtr254_Sci
17AdditionalDocum                       entificBasisForConservingForestCarnivor                               technical report that describes the ecological purpose
ents              00024618 - 00024815   es                                        9/00/1994   Ruggiero et al. and need for the conservation of forest carnivores.
17AdditionalDocum                       059_20011200_Post_Release_Monitorin                                   Colorado Division of Wildlife post-release monitoring
ents              00024816 - 00024848   g_Lynx_Shenk                              12/00/2001 Tanya M. Shenk report for Canada lynx.
                                                                                                              Research article describing the context of disturbance
17AdditionalDocum                       060_20030300_Veblen_HistoricRangeVa                     Thomas T.     ecology and historical range of variability in the Colorado
ents              00024849 - 00024852   riabilityMtnForestEcosystems              3/00/2003       Veblen      Rocky Mountains and southern Andes.
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                                                                                             Grant Merrill    Short general report of cooperation between US Forest
                                                                                              Colorado        Service and Colorado Division of Wildlife describing the
17AdditionalDocum                       061_20050930_gmerrill_colo_lynx_den_                  Division of     monitoring and quantitative assessment of lynx dens and
ents              00024853 - 00024855   site                                   9/30/2005       Wildlife       reproduction status.
                                                                                                              Research note describing the effects of pre-commercial
                                                                                                              thinning with findings that snowshoe hare abundance is
                                        062_20070000_GriffenPaulC_etal_Preco
17AdditionalDocum                       mmercialThinningReducesSnowshoeHare                                   affected for the short term following pre-commercial
ents              00024856 - 00024861   AbundanceShortTerm                       2007        Griffen et al.   thinning operations.
17AdditionalDocum                                                                                             US Forest Service Southern Rockies Lynx Amendment
ents              00024862 - 00024939   063_20081028_USFS_SRLA_ROD             10/28/2008        USFS         Record of Decision.

                                                                                            Tanya M. Shenk
                                                                                               Colorado    Colorado Division of Wildlife general report and update of
17AdditionalDocum                       064_20090525_CDOW_Shenk_LynxUpda                      Division of lynx ecology and population dynamics continuing post-
ents              00024940 - 00024944   te                                     5/25/2009        Wildlife   lynx release monitoring.

                                                                                                           Colorado Division of Wildlife general report on population
                                                                                              Colorado     forecasts and trends with an emphasis on habitat
17AdditionalDocum                       065_20100907_ColoradoLynxReintroduc                   Division of  ecology, benchmarks for success and other population
ents              00024945 - 00024948   tionAssessment                          9/7/2010       Wildlife    dynamics regarding future lynx population success.
                                                                                                           Research paper describing Canada lynx occurrence and
                                        066_20130128_Simons-
17AdditionalDocum                       Legaard_CanadaLynxOccurrenceForestM                 Simons-Legaard forest management dynamics of the Acadian forest in the
ents              00024949 - 00024960   gmtAcadianForest                       1/28/2013         et al.    state of Maine.
                                                                                                           Opinion article discussing the Canada lynx release and
                                                                                                           status in Colorado and the potential effects of recreation
17AdditionalDocum                       067_20130913_Maze_FreshTracksAndTh                                 and other Forest Service management programs on
ents              00024961 - 00024961   eCanadaLynx                            9/13/2013      Rhea Maze Canada lynx.
                                                                                                           US Fish and Wildlife Federal register final rule notice
                                                                                                           describing the status of Canada lynx critical habitat with
17AdditionalDocum                       068_20140912_FR_USFWS_LynxDPS_CH                                   in the Distinct Population Segment of the United States
ents              00024962 - 00025027   _Vol_79_No_177_54782                   9/12/2014        USFWS      and revised population boundary.
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17AdditionalDocum                         069_20160000_Sept_Nov_PublicParticip                  Rio Grande       Rio Grande National Forest public engagement report for
ents                00025028 - 00025036   ationScopingReport                        2016       National Forest   September through November 2016.
17AdditionalDocum                         070_20161104_SLVFederalAgencyScopin                   Rio Grande       Rio Grande National Forest scoping briefing report and
ents                00025037 - 00025039   gBriefing_MeetingNotes                  11/4/2016    National Forest   meeting notes for November 2016.
17AdditionalDocum                         071_20170000_LaGarita_BO_SecondNOI                                     USFWS Biological Opinion for the La Garita Hills landscape
ents                00025040 - 00025051   _Attachment19                             2017           USFWS         restoration project.
17AdditionalDocum                         072_20170000_MPB_SpruceBeetle_Atta                   Colorado State    Colorado State Forest Service Mountain Pine Beetle
ents                00025052 - 00025054   chment13_graph                            2017       Forest Service    activity graph in 2017.
17AdditionalDocum                         073_20170000_R2_Report_ForestHealth                                    US Forest Service Rocky Mountain Region 2017 forest
ents                00025055 - 00025077   Attachment14                              2017            USFS         health report.
                                                                                                                 Researh paper describing implications of changing fire
                                                                                                                 regimes over time and the potential effects on
                                          074_20170124_VanbianchiEtAl_CanadaL
17AdditionalDocum                         ynxUseBurnedAreasConservationImplicat                 Vanbianchi et    populations of Canada lynx with regard to lynx use of
ents                00025078 - 00025090   ionsOfChangingFire                      1/24/2017          al.         burned areas.
17AdditionalDocum                         075_20170500_LaGarita_FEIS_SecondN                     Rio Grande      Rio Grande National Forest La Garita Hills restoration
ents                00025091 - 00025150   OI_Attachment16                         5/00/2017    National Forest   project Final Environmental Impact Statement.
17AdditionalDocum                         076_20171011_LaGarita_ROD_SecondN                      Rio Grande      Rio Grande National Forest La Garita Hills restoration
ents                00025151 - 00025172   OI_Attachment15                         10/11/2017   National Forest   project Record of Decision.
17AdditionalDocum                                                                                Rio Grande      Rio Grande National Forest draft wildlife report related to
ents                00025173 - 00025272   077_20171226_DraftWildlifeReport        12/26/2017   National Forest   the Forest Plan Revision process (2017).
                                                                                                                 Non-peer reviewed analysis summary of research project
                                                                                                                 for Canada lynx habitat relationships within spruce bark
17AdditionalDocum                         078_20180319_LynxHabitatRelBeetleImp                                   beetle impacted forests with an emphasis on the Rio
ents              00025273 - 00025306     actedForest_Squiresetal                 3/19/2018     Squires et al.   Grande National Forest.
17AdditionalDocum                         079_20170000_SRLA_ImplementationRe
ents              00025307 - 00025316     port                                    00/00/2018   Forest Service Southern Rockies Lynx Report, 2017
17AdditionalDocum                         080_20190000_SRLA_ImplementationRe
ents              00025317 - 00025326     port                                    00/00/2020   Forest Service Southern Rockies Lynx Report, 2019
